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 9                               UNITED STATES DISTRICT COURT

10                      FOR THE NORTHERN DISTRICT OF CALIFORNIA

11                                     SAN FRANCISCO DIVISION

12     MICHAEL ELLIOTT JESSUP, individually                  Case No.
       and on behalf of all others similarly situated,
13                                                           CLASS ACTION COMPLAINT FOR:
                                 Plaintiff,
14                                                             (1) FRAUD;
               V.
15                                                             (2) UNJUST ENRICHMENT; and
       SAMUEL BANKMAN-FRIED, an individual,
16     CAROLINE ELLISON, an individual,                        (3) CONVERSION.
       NISHAD SINGH, an individual, GARY
17     WANG, an individual, and SAM
       TRABUCCO, an individual,                              DEMAND FOR JURY TRIAL
18
                                 Defendants.
19

20          Plaintiff Michael Elliott Jessup, individually and on behalf of a proposed class, brings

21   this Class Action Complaint against Defendants Samuel Bankman-Fried, Caroline Ellison,

22   Nishad Singh, Gaiy Wang, and Sam Trabucco. Plaintiff alleges as follows upon personal

23   knowledge as to himself and his own acts and experiences, and as to all other matters, upon

24   info1mation and belief.

25                                      NATURE OF THE ACTION

26                  In just over a decade, the c1ypto mai·ket has become a trillion-dollai· industry.

27   These new fonns of digital assets and cmTencies ai·e unlike any fonn of ti·aditional financial

28   insti11ments.They ai·e not issued by any governments, not regulated by any centi·al authorities,

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 1   and essentially any person with specialized hardware and computer software could create them.

2    Young people throughout the world raced to buy crypto in hopes that this new f01m of "Internet

 3   money" could make them rich and, for many, it did. But c1ypto remained a myste1y for most,

 4   especially bigger financial institutions and governments. C1ypto needed a proper spokesperson

 5   who could convince society that c1yptocmTencieswere smart, stable, and safe investments.

 6   That's where Defendant Samuel Bankman-Fried (or "SBF") came in, a then twenty-something

 7   year-old self-promoted eccentric genius.

 8          2.      In 2019, Defendant SBF launched a c1yptocunency exchange called FTX, where

 9   users could buy and sell c1ypto and exchange them for traditional cmTencies, like United States

10   Dollars. SBF successfully convinced millions of users, hedge funds, regulators, and other major

11   institutions that he was the new era of c1ypto and that they should believe in him and invest in

12   his platfonn. And it worked. At its peak, FTX became one of the largest c1ypto exchanges in the

13   world valued at over $32 billion, with its logo adorning eve1ything from Fo1mula 1 race cars to a

14   Miami basketball arena.

15          3.      Not even thirty-years-old at this point, SBF had become the leader of one of the

16   biggest c1ypto markets in the world, a celebrated philanthropist worth an estimated $26 billion,

17   and a major political donor who quickly became a power player in Washington.

18          4.      But all of this was a mirage that came crashing down on November 11, 2022,

19   when FTX abmptly filed for bankmptcy.

20          5.      Overnight, billions of dollars belonging to Plaintiff and the Class evaporated.

21   Users could no longer withdraw their c1ypto or money. While SBF had been publicly tiying to

22   convince users eve1ything was fine, in reality, it was not.

23          6.      The days following FTX's collapse revealed that it was not the ti·aditional c1ypto

24   market volatility or instability that tanked FTX, but rather one of the most specta.cular financial

25   frauds since Bernie Madoff, deliberately caITiedout by SBF and his inner circle at FTX and

26   Alameda Research (or "Alameda"): Defendants Caroline Ellison, Nishad Singh, Gaiy Wang, and

27   Sam Trabucco (together, the "Inner Circle").
28          7.      As explained in more detail below, SBF ti·ickedpeople into thinking FTX was

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 1   wo1ih far more than it was and essentially used FTX-and his customers' deposits, in
 2   pa1iicular-as his personal slush fund. First, SBF effectively paid investors, employees, and
 3   vendors shares of the company in his own c1ypto cmTency, FTT, which he controlled and
 4   inflated the value of, and loaned out FTX customer deposits to his (supposedly separate) c1ypto
 5   hedge fund, Alameda Research. SBF had even written a secret back door into FTX's code that
 6   allowed him to siphon off customer deposits and move them to Alameda, where he could cover
 7   Alameda's major trading losses. He also regularly used FTX's assets to fund his own personal
 8   investments (like his half billion-dollar investment into Robinhood), pm-chase $300 million
 9   wo1ih of real estate, and become the second most prolific funder of political candidates after
10   George Soros.
11          8.       In the end, SBF was not the altmistic savior to the c1ypto industry that he held
12   himself out to be. He instead chose to capitalize on the lack of effective regulato1y oversight of
13   the c1ypto market and defraud his customers out of billions of dollars.
14          9.       Plaintiff Jessup is just one consumer who had c1ypto invested in FTX and who
15   has lost money as a result of Defendants' conduct. Accordingly, Jessup brings suit on behalf of
16   himself and all others similarly situated, to seek both moneta1y and equitable relief for
17   Defendants' deceptive and unlawful conduct.
18                                                  PARTIES
19           10.     Plaintiff Michael Elliott Jessup is a natmal person and a citizen of the State of
20   California. He resides in Marin, California.

21           11.     Defendant Samuel Bankman-Fried is a natmal person and citizen of the United

22   States. Bankman-Fried was co-founder and CEO of FTX, which had offices in Berkeley,

23   California.

24           12.     Defendant Caroline Ellison is a natmal person and citizen of the United States.

25   Ellison was co-CEO of Alameda Research, which had offices in Berkeley, California.

26           13.     Defendant Ga1y Wang is a natmal person and citizen of the United States. Wang

27   was co-founder and Chief Technology Officer ofFTX, which had offices in Berkeley,

28   California. Wang also co-founded Alameda Research with SBF.

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 1           14.    Defendant Nishad Singh is a natural person and citizen of the United States. Singh
2    was Director of Engineering at FTX, which had offices in Berkeley, California. Before that, he

 3   was Director of Engineering at Alameda Research.

 4           15.    Defendant Sam Trabucco is a natural person and citizen of the United States.

 5   Trabucco was co-CEO of Alameda Research, which had offices in Berkeley, California.
 6                                    JURISDICTION AND VENUE

 7           16.    This Comt has jurisdiction over this action pursuant to 28 U.S.C. § 1332(d)(2)
 8   because (i) at least one member of the Class is a citizen of a different state than Defendants, (ii)

 9   the amount in controversy exceeds $5,000,000, exclusive of interest and costs, and (iii) none of
10   the exceptions under that subsection apply to this action.

11           17.    This Comt has personal jurisdiction over Defendants because they conduct

12   business in this District and the unlawful conduct alleged in the Complaint occuned in, was

13   directed to, and/or emanated from this Disti·ict, including disseminated misrepresentations about

14   FTX and its relationship with Alameda Research throughout the District.

15           18.    Defendants purposefully availed themselves of the benefits of the laws of

16   California in conducting business and ti·ansactions in the state. Defendants adve1tised heavily in

17   California, including on television and with local sponsorships. FTX paid for the naming rights

18   of the University of Berkeley football stadium to have it named FTX Field at California

19   Memorial Stadium and have its logo emblazoned on the field. FTX also pa1tnered with the

20   Golden State WaITiors(based out of San Francisco, California) and had its logo appear at games

21   held by the Santa Cmz WaITiors.FTX aired an adve1tisement during the 2022 Superbowl, which

22   was held in California.

23           19.    Defendants insti11ctedcustomers to deposit funds via wire ti·ansfer to Silvergate

24   Bank, a California business entity with its principal place of business in La Jolla, California.

25   Upon infonnation and belief, FTX received hundreds of millions of dollars in deposits customers

26   made through Silvergate. Defendants even instructed some FTX customers to send wire ti·ansfers

27   directly to Alameda's accounts at Silvergate.
28          20.     Defendants also sought out investments for FTX and Alameda Research in this

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 1   state, including from some investment fnms in the District, such as Sequoia Capital, which is
2    headqua1tered in Menlo Park, California.
 3          21.     Plaintiff was induced to engage in his transactions with FTX in the District.
 4          22.     Venue is proper in this District under 28 U.S.C. § 1391(b) because a substantial
 5   pali of the events or omissions giving rise to the unlawful conduct alleged in the Complaint
 6   occmTedin, was directed to, and/or emanated from this District.
 7                                     DIVISIONAL ASSIGNMENT
 8          23.     Pmsuant to Civil Local Rule 3-2(d), this case should be assigned to the San
 9   Francisco Division.

10                                    GENERAL ALLEGATIONS

11   I.     FTX's Backstory.

12          24.     Defendants SBF and Wang co-founded FTX in 2019 as a c1yptocunency

13   exchange. SBF developed the FTX exchange to suppo1t all major c1yptocunencies, leveraged

14   tokens, and facilitate over-the-counter trading. FTX's stated mission, spearheaded by SBF, was

15   to build a c1ypto exchange with greater consumer protections and better user experiences.

16   FTX.com offered traders outside the US c1ypto tokens meant to minor the perfo1mance of

17   specific stocks. By 2019, FTX was handling about $1 billion daily trades. FTX US, which allows

18   access to US users, also launched equity trading in 2022.
19          25.     The company invested millions in ad campaigns and spo1t and celebrity

20   pa1tnerships to imbue it with avail oflegitimacy. FTX ran a $30 million Superbowl ad in in

21   2021 featming comedian Lany David. It pm-chasednaming rights to the Miami Heat arena,

22   along with the naming rights to the University of California Berkeley's football field for $17.5

23   million in 2021. In April 2022, SBF sat on a stage with Bill Clinton and Tony Blair at an FTX-

24   sponsored c1ypto conference in the Bahamas.

25          26.     SBF held himself out as a liaison between the c1ypto world and Congress, and

26   even the White House. On December 8, 2021, SBF testified in front of the House Financial

27   Services Committee, touting FTX as a consumer-friendly, safe investment platfo1m. "FTX has
28   designed and offered a platfonn with a market structure that is risk reducing," he told members

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 1   of Congress, while claiming FTX embraced regulato1y oversight. 1 In an October 2021 press

 2   release, SBF bragged of being able to "partner with investors that prioritize positioning FTX as

 3   the world's most transparent and compliant c1yptocmTencyexchange."2
 4               27.    This investment in image-setting paid off as many consumers were taken in by the

 5   rnse. Consumers believed FTX was safer than alternative c1yptocmTencyexchanges and that

 6   there were regulations in place to protect their investments. In 2021, FTX was handling around

 7   10% of the $3 .4 trillion face value of derivatives traded by c1ypto investors each month.
 8               28.     Consumers were not alone in thinking FTX was on the up and up. FTX was one
 9   of the fastest growing c1ypto exchanges in the world. FTX grew from $25 billion in value in

10   October 2021, to a $32 billion valuation by Januaiy 2022. FTX's smaller, United States

11   component, FTX US, reached an $8 billion valuation in Januaiy 2022, raising $400 million in its

12   first external fundraising round.
13               29.     But less than eleven months later, FTX would come crashing down. To help

14   understand SBF and the Inner Circle's scheme, a brief introduction to SBF's supposedly separate

15   hedge fund, Alameda Research follows.
16   II.         Alameda Research.

17               30.     Before FTX, SBF founded the c1yptocmTencyhedge fund Alameda Research in
18   his apaiiment in 2017. Ga1y Wang, a member of the Inner Circle who became CTO of FTX, co-

19   founded the sta1iup with SBF. The two have long had ties, beginning with meeting at a math

20   camp in high school, and going on to be college roommates. When Alameda was first staiied,

21   they ran the company out of a three-bedroom apaiiment in Berkeley-the downstairs their

22   dedicated office space. When SBF left Alameda to staii FTX, he brought Gaiy Wang and

23   another member of the Inner Circle, Nishad Singh, with him.
24               31.     In 2021, SBF handed over the reins of Alameda to two relatively inexperienced
25
     1 DigitalAssets and the Future of Finance: Understanding the Challenges and Benefits of Financial Innovation in
26   the United States Before the H. Comm. on Fin. Se/'vs., 117th Cong. (2021) (Testimony of Sam Bankman-Fried Co-
     Founder and CEO ofFTX), https://financialservices house.gov/uploadedfiles/hhrg-l l 7-ba00-wstate-bankman-
27   frieds-20211208.pdf.
     2   Han-iet Agnew et al., FTX lures blue-chip investors in funding round, valuing c,,ypto group at $25bn, FINANCIAL
28
     TIMES (Oct. 21, 2021), https://www ft.com/content/56b35970-dele-4la6-9fbl-b482075e092b.


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 1   traders, Defendants Caroline Ellison and Sam Trabucco. Between the two of them, they only had

2    a few years of experience trading in conventional markets.
 3           32.      Trabucco had a penchant for gambling and bragged about how he applied his

 4   gambler's instincts to Alameda's crypto trnding. Trabucco bragged that he had been banned from

 5   multiple casinos for counting cards in blackjack. In a Januaiy 2021 Twitter thread, Trabucco
 6   claimed, "Bigger is Bigger (when Betting is Better)" in both betting and trnding. Trabucco

 7   encomaged aggressive trnding and embracing risk as co-CEO of Alameda. This risk-loving

 8   strategy ultimately led Alameda to make many bad investments that led to its downfall. In
 9   August 2022, Trabucco abrnptly left Alameda, stepping down as co-CEO just before the house

10   of cards collapsed.
11           33.      SBF claimed there were adequate firewalls between Alameda and FTX. In an

12   August 2022 interview with Bloomberg, SBF stated, "Alameda is a wholly sepai·ate entity," and

13   claimed, "They're different offices, like different principal offices. We don't have any shared

14   personnel. We're also not the same company."3 Ellison made similar misrepresentations in

15   September 2022, stating, "[w]e're aim's length and don't get any different treatment from other

16   mai·ket makers." 4 But these, too, were lies.
17           34.      For a period, Wang, Singh, Ellison, and SBF all lived in the same house in the

18   Bahamas. The FTX and Alameda offices in the Bahamas were ve1y nearby. The Inner Circle was

19   socially and romantically entangled, with Ellison and SBF having dated in the past. Wang,

20   Singh, and Ellison were also all on the board of SBF's FTX Foundation. There was nothing

21   aim' s length about the relationship between the executives at FTX and Alameda.
22           35.      FTX and Alameda had a histo1y of propping each other up. Even before FTX

23   became embroiled in Alameda's bad bets in 2022, Alameda had loaned FTX money to shelter it

24   from a $1 billion loss after a customer trade on the exchange blew up. Early in 2021, Alameda
25
     3Annie Massa et al., What FTX's Bankman-Fried Said When We Asked Him About Red Flags, BLOOMBERG NEWS
26   (Nov. 17, 2022), https://wwv.•.bloomberg.com/news/a11icles/2022-l l-18/what-ftx-s-sam-bankman-fried-said-when-
     we-asked-him-about-red-flags-at-alameda.
27   4
      Annie Massa et al., Oypto Quant Shop With Ties to FTX Powers Bankman-Fl'ied's Empire, BLOOMBERG NEWS
28   (Sept. 14, 2022), https://www.bloomberg.com/news/ruticles/2022-09-14/trading-fum-alruneda-research-powers-ftx-
     ceo-sam-bankman-fried-s-crypto-empire?utm _ source=twitter&utm.

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 1   took on much ofFTX's exposure when a client's leveraged bet on an obscure token broke

 2   through the guardrails designed to shield the exchange from sustaining losses when trades went

 3   south. This was yet another example of how SBF and the Inner Circle used Alameda and FTX to

 4   prop each other up, even while publicly maintaining that the exchange and the hedge fund acted

 5   separately.
 6          36.     Alameda made more than 150 investments across the c1ypto industry, including in

 7   the now-bankrnpt c1ypto broker Voyager Digital. FTX executives also took out billions of

 8   dollars in loans from Alameda to fund all manner of activities, from SBF's political cont:I'ibutions

 9   to his purchase of a 7.6% stake in Robinhood for $650 million.

10   Ill.   SBF and the Inner Circle's Fraud.
11          37.     SBF made sure to get paid at both Alameda and FTX, while outwardly claiming

12   to live a fi.ugal lifestyle. SBF once claimed he lived off $100,000 a year, when in reality, he was

13   taking in much more. In October 2021, FTX raised over $420 million from several well-known

14   investors. But instead of making its way to the exchange, $300 million went to SBF himself

15   when he sold his stake in FTX. This cash out dwarfs the n01mal amounts startup founders award

16   themselves. SBF attempted to justify this payoff by claiming it was a paiiial reimbursement for

17   money he spent to buy out Binance's stake in FTX. Instead, this was yet another example of how

18   SBF took money that was meant for the exchange and its customers and used it for himself.

19          38.     At age 30, SBF was briefly wo1ih $26 billion. Alameda Research was repo1ied to

20   have made $1 billion in profit in 2020, and the newly founded FTX was making $350 million in

21   profit off ti-ading fees. These profits played into SBF's "effective alti11ism"endgame, in which he

22   believed himself better situated to solve the world's problems as a billionaire capable of giving

23   away vast sums of his wealth. SBF promised to give away almost all his money, yet as of March

24   2021, he had only given away about 0.1 % of his fortune. He claimed he would ramp up his

25   giving once he became more liquid.

26          39.     The relationship between FTX and Alameda had always been murky, as described

27   above. In the ti·aditional finance world, there ai·e clear regulations and laws limiting the use of

28   deposito1y funds for ti·ading. In 1933, Congress passed the Glass-Steagall Act which required

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 1   that commercial banks refrain from investment banking activities. This was to protect depositors

 2   from potential losses caused by bank speculation in stocks. But in the crypto world, no such

 3   regulations exist to protect customer deposits.

 4            40.    While it appeared from the outside that SBF was funding his spending and

 5   lending in paii from profits he made at Alameda, in reality, the hedge fund was smviving only

 6   because SBF was loaning Alameda billions of dollai·s of FTX customer deposits. SBF claimed

 7   publicly that Alameda (the hedge fund) and FTX (the exchange) were kept sepai·ate. But this was

 8   hardly the case. SBF owned more than half of FTX and almost all of Alameda. The two

 9   companies shai·ed office space in Berkeley, California, and both were housed in the Bahamas on

10   the same corporate campus. In the Bahamas, Bankman-Fried lived in the same apaiiment as

11   Alameda CEO Caroline Ellison, along with other roommates.

12            41.    In the spring of 2022, the crypto market was shaken by its own Great Recession-

13   like financial crisis. The popular stablecoin (meaning it was supposed to always be wo1ih about

14   $1) Te1TaUSDcrashed to 2¢. A lai·ge c1ypto hedge fund, Three Anows Capital, collapsed.

15   C1ypto asset prices began to crash, and several c1ypto companies failed in rapid succession. SBF

16   stepped in and began scooping up distressed c1ypto companies as a lender of last reso1i. FTX US

17   bailed out BlockFi Inc., a digital-asset lender, with a $400 inillion credit after BlockFi took an

18   $80 inillion hit from bad Three Anows debt. Alameda extended a $500 inillion emergency credit

19   line to the c1ypto brokerage Voyager Digital Ltd. Despite the injection of capital, Voyager went

20   under.
21            42.    Ultimately, none of these investments panned out. Alameda had bo1Towedmoney

22   to make investments, then got FTX to bail it out to help make payments on those loans. SBF

23   used customer deposits to fund Alameda's bailout without the permission of those customers.

24   Alameda's loan to Voyager was wiped out once the brokerage fnm filed for bankmptcy. To help

25   prop up Alameda and its failed investments, SBF transfe1Tedat least $4 billion from FTX to

26   Alameda in 2022. The money SBF transfe1Tedfrom FTX was, in large paii, FTX customer

27   deposits.

28            43.    SBF transfe1Tedthese funds without using n01mal methods that would be

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 1   traceable by employees outside the Inner Circle. The company's books had a "back door" built-

2    in using bespoke software. This backdoor allowed SBF to alter the company's financial records

 3   without ale1iing other people in the company. Upon infonnation and belief, Defendants Wang,

 4   Singh, and Ellison knew about SBF's decision to send customer funds to Alameda.

 5          44.     Defendants Wang and Singh controlled the code for the exchange's matching

 6   engine and funds. SBF also had control of the code, but with subpar skills, he relied on Wang

 7   and Singh for their technical know-how. With their control of the code governing funds, they

 8   were able to move funds around without others noticing.

 9          45.     Along with the substantial funds (largely comprised of customer deposits) that

10   were transfened from FTX to Alameda, substantial amounts of money were spent on things not

11   related to the business, as well. This includes approximately $300 million w01ih of Bahamas real

12   estate consisting of homes and vacation prope1iies for FTX senior executives. In 2022, SBF

13   spent more than $40 million on political campaigns, and donated $5 million to the investigative

14   news outlet ProPublica. At no point did consumers consent or were even made aware that their

15   deposits were being misused in this way.

16          46.     What looked from the outside like a wunderkind using a competitive advantage to

17   make billions, was actually a group of inexperienced people mismanaging a multibillion-dollar

18   company. When SBF's ventures failed, he took consumers' deposits and tried to gamble them to

19   recoup his losses.
20   IV.    SBF and the Inner Circle's Misrepresentations.

21          47.     Throughout their time as executives ofFTX and Alameda Research, SBF and the

22   Inner Circle made regular and calculated misrepresentations about how FTX customer funds

23   were used, including:

24             a. Even as the FTX rouse was coming undone, SBF publicly lied about how customer

25                 assets were used to tiy to prevent people from withdrawing their deposits. On
26                 November 7, 2022, SBF tweeted that "FTX has enough to cover all client
27

28

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 1                     holdings. We don't invest client assets (even in treasuries)." 5 He said this while

 2                     knowing FTX had sent billions of dollars in customer deposits to Alameda to be

 3                     invested.

 4                 b. In July 2022, an FTX US employee tweeted that "direct deposits from employers

 5                     to FTX US are stored in individually FDIC-insured bank accounts in the users'

 6                     names" and that "stocks are held in FDIC-insured and SIPC-insured brokerage

 7                     accounts." 6 The FDIC subsequently sent FTX a warning letter to stop

 8                     misrepresenting that FTX accounts were FDIC ensured.

 9                 c. SBF publicly claimed Alameda and FTX were wholly separate entities, even after

                       using a back door to send billions ofFTX customer funds to Alameda. Ellison
11                     similarly misrepresented that Alameda and FTX were kept at aim's length and that

12                     Alameda received the same treatment from FTX as any other exchange, even after

13                     having illicitly received billions ofFTX customer funds.

14                 d. In December 2021, and again in May 2022, SBF testified in front of Congress,
15                     taking the position that FTX was in favor of regulato1y oversight. On October 19,

16                     2022, SBF tweeted that "we need regulato1y oversight and customer protection"

17                     and "we should establish regulation." 7 But after he stepped down as CEO, SBF

18                     admitted that claiming to want regulation was "just PR." "[F]--- regulators[.]

19                     [T]hey make eve1ything worse." 8 This, too, was a lie SBF and his Inner Circle

20                     pe1petuated in order to make consumers feel safe depositing their money in FTX.
21               48.   All these misrepresentations had the goal of tricking consumers into believing

22

23   5 Britney  Nguyen, Sam Bankman-Fried deleted his tweet saying FTX "assets are fine" on the day he announced his
     Binance deal, BUSINESSINSIDER(Nov. 9, 2022), https://www.businessinsider.com/ftx-sam-bankman-fried-deleted-
24   assets-fine-tweet-binance-deal-2022-1 l.
     6 Letter from Fed. Deposit Ins. Corp. to Brett Ha1rison, Individually and as President ofFTX US and Dan Friedberg,
25
     Chief Regulatory Officer ofFTX US (Aug. 18, 2022), https://www.fdic.gov/news/press-releases/2022/ftx-hrurison-
26   letter.pdf.
     7
      Samuel Bankman-Fried (@SBF_FTX), TWITTER(Oct. 19, 2022),
27   https://twitter.com/SBF _FTX/status/1582835490515927041.
     8 Kelsey Piper, Sam Bankman-Fried tries to explain himself, Vox (Nov. 16, 2022), https://v.rwv.•.vox.com/future-
28
     perfect/23462333/sam-bankman-fried-ftx-cryptocwTency-effective-altmism-crypto-bahamas-philanthropy.

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 1   depositing money on FTX was a "safe and easy way to get into crypto," rather than a scheme

 2   implemented by SBF and the Inner Circle to funnel money to Alameda.

 3   V.         The Fall of FTX.

 4              49.     On November 2, 2022, CoinDesk ran a sto1y about a leaked balance sheet from

 5   Alameda, which purpo1iedly operated separately from FTX. The leaked document demonstrated

 6   a significant po1iion of Alameda's assets were in SBF's crypto token, FTT (issued by FTX).

 7   Alameda, despite its supposed sophistication, was invested heavily in a token minted from thin

 8   air by SBF.
 9              50.     On November 6, 2022, CEO of rival exchange Binance, Chanpeng Zhao tweeted

10   that "[d]ue to recent revelations" it would be selling off its FTT. 9 A nm on the bank followed as

11   consumers desperately attempted to withdraw their assets from FTX. Were FTX simply holding

12   consumers' assets and functioning as a middleman in trades, it would have had no problem

13   fulfilling customers' requests to withdraw. But the assets were gone. FTX had to halt customer

14   withdrawals after about $5 billion wo1ih of withdrawal requests flooded in.
15              51.     On November 7, 2022, SBF tweeted that "FTX is fine. Assets are fine." He also

16   stated, "FTX has enough to cover all client holdings. We don't invest client assets (even in

17   treasuries)." 10 These were lies.
18              52.     On November 8, 2022, SBF announced that Binance would be taking over FTX to

19   ensure consumers could regain access to their assets. But one day later, on November 9, 2022,

20   Binance pulled out of the deal. A Binance spokesperson told CoinDesk that "[a]s a result of

21   cmporate due diligence, as well as the latest news repo1is regarding mishandled customer funds

22   and alleged U.S. agency investigations, we have decided that we will not pursue the potential

23   acquisition of FTX.com." 11
24              53.     On November 11, 2022, FTX, FTX US, and Alameda all filed for bankmptcy as
25
     9
26     Chanpeng Zhao (@cz_binance), TWITTER(Nov. 6, 2022 at 7:47 AM),
     https://twitter.com/cz _ binance/status/1589283421704290306?lang=en.
27   10
          Nguyen, supra note 5.
     11 Kevin Reynolds, Binance Walks Away From Deal to Acquire FTX, COINDESK(Nov. 9, 2022),
28
     https://www.coindesk.com/business/2022/l l/09/binance-walks-away-from-ftx-deal-wsj/.

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 1   SBF resigned. A day after FTX filed for bankmptcy, an unauthorized withdrawal of c1ypto wo1th

 2   more than $400 million occmTedas a result of a hack, leading to more losses. Even weeks after

 3   entering Chapter 11, it is unclear exactly where all FTX's missing assets are. At least $1 billion

 4   in FTX customers' funds disappeared from the collapsed exchange. John Ray, who has taken

 5   over FTX in an attempt to right the dangerously listing ship, filed a scathing statement that

 6   assessed SBF and his leadership ofFTX, namely stating that the exchange was controlled by "a

 7   ve1y small group of inexperienced, unsophisticated and potentially compromised individuals." 12

 8   What is clear is that SBF took $10 billion in customer funds from FTX and transfeITedmuch of it

 9   to its sister trading company, Alameda Research, without customer pennission, and now a large

10   po1tion of that total is missing.

11                 FACTS SPECIFIC TO PLAINTIFF MICHAEL ELLIOTT JESSUP

12           54.      Plaintiff Michael Elliott Jessup joined FTX in 2022. Having seen SBF's public

13   statements (Jessup followed SBF on Twitter), he believed FTX was a safe platfo1m and that SBF

14   was a tmstwo1thy person at the helm of the exchange. This was pa1ticularly appealing as SBF's

15   stated mission was to help move the c1ypto space to become more institutionalized.
16           55.      Tmsting that FTX would do the simple task of holding on to his digital assets,

17   Jessup placed nearly two Bitcoins (valued at approximately $32,000 on November 10, 2022) and

18   about fo1ty Solana (valued at approximately $1000 on November 10, 2022) in an FTX US
19   account.
20           56.      But that soon changed. As news repo1ts began to reveal trouble with FTX, Jessup

21   grew concerned.
22           57.      Amidst the chaos, Jessup logged on to his FTX US account and attempted to
23   withdraw his assets. But FTX would not allow him to do so. Indeed, a leaked FTX balance sheet

24   indicated that FTX owned exactly zero (0) Bitcoins by the time it filed for bankmptcy.
25           58.      Had Plaintiff Jessup known of SBF's fraud, he would never have deposited his

26   Bitcoin on the FTX exchange.
27
     12Eliot Brown et al., FTX's Sam Bankman-Fried Cashed Out $300 Million During Funding Spree, WALLST. J.
28   (Nov. 18, 2022), https://www.wsj.com/aiticles/ftxs-sam-bankman-fried-cashed-out-300-million-during-funding-
     spree-1166879977 4.

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 1                                        CLASS ALLEGATIONS

 2           59.     Class Definition: Plaintiff brings this action pursuant to Federal Rule of Civil

 3   Procedure 23(b )(2) and 23(b )(3) on behalf of himself and a Class of similarly situated
 4   individuals, defined as follows:
 5          All persons in the United States who had bitcoins, other c1yptocmTency,assets or
            money stored with FTX on November 10, 2022.
 6

 7   The following people are excluded from the Class: (1) any Judge or Magistrate presiding over
 8   this action and members of their families; (2) Defendants, Defendants' successors, predecessors,
 9   and any entity in which the Defendants have a controlling interest, and their cmTent or fo1mer
10   officers and directors; (3) persons who properly execute and file a timely request for exclusion
11   from the Class; (4) persons whose claims in this matter have been finally adjudicated on the
12   merits or othe1wise released; (5) Plaintiff's counsel and Defendants' counsel; and (6) the legal
13   representatives, successors, and assigns of any such excluded persons.
14           60.     Numerosity: The exact number of the members of the Class is unknown and not

15   available to Plaintiff at this time, but it is clear that individual joinder is impracticable. On

16   infonnation and belief, and according to documents filed by FTX in suppo1t of its bankmptcy

17   petition, there are likely over one million members in the Class. Members of the Class can be

18   identified through Defendants' records and through third-pa1ty discove1y.
19           61.     Commonality and Predominance: There are many questions of law and fact

20   common to Plaintiff's and the Class's claims, and those questions predominate over any

21   questions that may affect individual members of the Class. Common questions for the Class

22   include, but are not necessarily limited to the following:
23              a.      Whether the Defendants' conduct constitutes fraud;
24             b.       Whether the Defendants' conduct constitutes conversion;
25              c.      Whether the Defendants' conduct constitutes unjust emichment.
26           62.     Typicality: Plaintiff's claims are typical of the claims of other members of the

27   Class in that Plaintiff and the members of the Class were hanned, and face ongoing haim, ai·ising

28   out of Defendants' wrongful conduct.

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 1           63.     Adequate Representation: Plaintiff will fairly and adequately represent and

 2   protect the interests of the Class and has retained counsel competent and experienced in complex

 3   litigation and class actions. Plaintiff's claims are representative of the claims of the other

 4   members of the Class, as Plaintiff and each member of the Class lost money they would not have

 5   othe1wise lost because of Defendants' unlawful conduct. Plaintiff also has no interests

 6   antagonistic to those of the Class, and Defendants have no defenses unique to Plaintiff. Plaintiff

 7   and their counsel are committed to vigorously prosecuting this action on behalf of the Class and

 8   have the financial resources to do so. Neither Plaintiff nor their counsel have any interest adverse

 9   to the Class.

             64.     Superiority: This case is also appropriate for ce1iification because class

11   proceedings are superior to all other available methods for the fair and efficient adjudication of

12   this controversy. The hann suffered by the individual members of the Class is likely to have been

13   relatively small compared to the burden and expense of prosecuting individual actions to redress

14   Defendants' wrongful conduct. Absent a class action, it would be difficult for the individual

15   members of the Class to obtain effective relief from Defendants. Even if members of the Class

16   themselves could sustain such individual litigation, it would not be preferable to a class action

17   because individual litigation would increase the delay and expense to all paiiies and the Comi

18   and require duplicative consideration of the legal and factual issues presented. By contrast, a

19   class action presents fai· fewer management difficulties and provides the benefits of single

20   adjudication, economy of scale, and comprehensive supervision by a single Comi. Economies of

21   time, effo1i, and expense will be fostered, and unifonnity of decisions will be ensured.

22           65.     Plaintiff reserves the right to revise each of the foregoing allegations based on

23   facts learned through additional investigation and in discove1y.

24                              FIRST CAUSE OF ACTION
                                            Fraud
25     Against Samuel Bankman-Fried, Caroline Ellison, Nishad Singh, Gary Wang, and Sam
                                           Trabucco
26                           (On behalf of Plaintiff and the Class)
27           66.     Plaintiff incorporates the foregoing allegations as if fully set fo1ih herein.
28

     CLASS ACTION COMPLAINT                            15
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 1          67.     Through SBF's public statements, marketing materials, and adve1iisements, SBF,

2    Singh, and Wang represented to Plaintiff and the Class that FTX would, inter alia, protect their

 3   c1ypto assets, and safely and quickly allow them to buy, sell, trade, or withdraw the same. SBF,

 4   Singh, and Wang deliberately withheld from Plaintiff and the Class that their deposits were being

 5   transfe1Tedto Alameda Research under Ellison and Trabucco's control. Defendants conspired to

 6   take Plaintiff and the Class's funds and give them to Ellison and Trabucco without their

 7   knowledge or consent.

 8          68.     SBF, Singh, and Wang never intended to safeguard users' c1ypto assets.

 9          69.     Instead, SBF, Singh, and Wang spread deliberate falsehoods, even as the music

10   stopped for FTX. SBF claimed that users' assets were safe, even after he had gambled and

11   othe1wise frittered them away.

12          70.     SBF, Singh, and Wang's representations to Plaintiff and the members of the Class

13   were knowingly and intentionally false.

14          71.     Knowing that consumers are less likely to do business with companies that fail to

15   adequately safeguard and hold their c1ypto assets or allow them to buy, sell, trade, or withdraw

16   the same, SBF and the Inner Circle made these false representations with the intention that

17   Plaintiff and the members of the Class would rely on them in contracting with FTX and

18   transfeITingmoney and c1yptocu1Tencyinto their accounts.

19          72.     SBF made false representations to Plaintiff and the members of the Class online

20   when he tweeted that consumer assets were "fine." This was even after FTX had suspended

21   withdrawals.
22          73.     Knowing that users would stop depositing bitcoins and funds in their accounts,

23   and would instead attempt to withdraw funds or close accounts if made aware of the colossal

24   losses of assets FTX faced, SBF and the Inner Circle made the false representations and

25   omissions with the intent that Plaintiff and the members of the Class would rely on them and

26   continue to deposit money and c1yptocmTenciesinto their FTX accounts and not attempt to

27   withdraw funds and/or close accounts.
28

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 1          74.     Had SBF and the Inner Circle disclosed FTX's hue practices and intentions,

 2   Plaintiff and the members of the Class would have stopped depositing cash and/or

 3   c1yptocunencies into their FTX accounts, immediately taken any available steps to remove their

 4   assets from the exchange, or would not have maintained accounts with FTX at all.
 5          75.     Accordingly, SBF and the Inner Circle's fraudulent conduct caused Plaintiff and

 6   the Class to suffer actual hann in the amount of the difference between the c1yptocmTencyor fiat

 7   cmTency that was in their FTX accounts at the time it froze all withdrawals and the amount that

 8   will be actually retmned to them under the liquidation proceedings in FTX's bankrnptcy.
 9          76.     Defendants intentionally misrepresented facts and deceived Plaintiff and the Class

10   about the safety of their deposits, and concealed material facts known to them with the intention

11   of depriving Plaintiff and the Class of their prope1iy.
12          77.     Plaintiff and the Class seek to recover the economic injmy and other damages
13   suffered as a result of Defendants' unlawful conduct in the fo1m of the price of the
14   c1yptocunency and fiat cmTency in their FTX accounts that cannot be recovered. Plaintiff and
15   the Class also seek punitive damages for Defendant's unlawful conduct.
16                             SECOND CAUSE OF ACTION
                                     Unjust Enrichment
17     Against Samuel Bankman-Fried, Caroline Ellison, Nishad Singh, Gary Wang, and Sam
                                           Trabucco
18                           (On behalf of Plaintiff and the Class)
19          78.     Plaintiff inco1porates the foregoing allegations as if fully set forth herein.
20          79.     Plaintiff and the Class confened a moneta1y benefit on SBF, Singh, and Wang in

21   the fo1m of fees paid for FTX's ti·ansaction services. Plaintiff and the Class's deposits also

22   helped prop up FTX and make it appear valuable despite the fact that it was severely in the red.
23          80.     Plaintiff and the Class also confened a monetaiy benefit on Ellison and Trabucco
24   when Ellison and Trabucco accepted funds that they knew, or should have known, were FTX

25   customer deposits. With Plaintiff and the Class's money, Ellison and Trabucco were able to

26   continue to make risky investinents long after Alameda would have othe1wise collapsed. Ellison

27   and Trabucco were able to continue receiving compensation for months longer than they would

28   have if Alameda had been forced to declare bankrnptcy when it first became insolvent.

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 1          81.     Defendants appreciate or have knowledge of the benefits confe1Tedupon them by

 2   Plaintiff and the Class.
 3          82.     Under principles of equity and good conscience, Defendants should not be
 4   pennitted to retain the transactions fees and compensation they received as a result of their

 5   Inisappropriation of Plaintiff and the Class's assets, because they knowingly concealed material

 6   info1mation from Plaintiff and the Class regarding their transaction deposits (i.e., that they would

 7   be unable to thereafter withdraw such money from their FTX accounts), which directly resulted

 8   in the loss of Plaintiff and the Class's monies stored on the exchange.
 9          83.     Defendants had a duty to disclose such material info1mation so Plaintiff and the
10   Class could make an info1med decision about whether to leave their assets with FTX.
11          84.     As a result of Defendants' conduct, Plaintiff and the Class suffered damages in

12   the fo1m of the transaction fees they paid for FTX's services and the assets they lost.
13          85.     Plaintiff and the Class Members have no other adequate remedy at law.
14          86.     Plaintiff, individually and on behalf of the Class, seek restitution of all monies
15   Defendants have unjustly received as a result of their conduct alleged herein, as well as interest,
16   reasonable attorneys' fees, expenses, and costs to the extent allowable, as well as all other relief
17   the Comi deems necessaiy to make them whole.
18                              THIRD CAUSE OF ACTION
                                         Conversion
19     Against Samuel Bankman-Fried, Caroline Ellison, Nishad Singh, Gary Wang, and Sam
                                           Trabucco
20                           (On behalf of Plaintiff and the Class)
21          87.     Plaintiff inco1porates the foregoing allegations as if fully set fo1ih herein.
22          88.     Without Plaintiff or the Class's consent, SBF and the Inner Circle intentionally

23   deprived Plaintiff and the Class of their rightful possession of their c1ypto assets and fiat

24   cmTencies stored on FTX.
25          89.     Defendants intentionally, and without authority, assumed and exercised control

26   over Plaintiff and the Class's c1yptocmTencyand money, interfering with their right to

27   possession of the saine, by (a) causing Plaintiff and the Class's FTX accounts to be restrained,
28

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 1   and (b) by causing c1yptocunency and money to be withdrawn from Plaintiff and the Class's

 2   FTX accounts and given to Alameda Research.
 3          90.     At all relevant times, SBF and the Inner Circle acted with wanton, recklessness

 4   and total and deliberate disregard for the personal rights of Plaintiff and the Class.
 5          91.     SBF and the Inner Circle's improper restraint of Plaintiff and the Class's

 6   c1yptocunency and money, which haimfully interfered with Plaintiff and the Class's rights to

 7   control their own property, constitutes conversion.
 8          92.     Plaintiff and the Class ai·e entitled to to actual damages.

 9                                            PRAYER FOR RELIEF

10          Plaintiff Michael Elliott Jessup, individually and on behalf of all others similai·ly situated,

11   respectfully request that this Comi enter an Order:
12          (a)     Ce1iifying this case as a class action on behalf of the Class defined above,

13   appointing Plaintiff Michael Elliott Jessup as representative of the Class, and appointing his

14   counsel as Class Counsel;
15          (b)     An award of actual damages;
16          (c)     An award of restitution for Defendants' wrongful conduct;
17          (d)     An award ofreasonable attorneys' fees and costs;
18          (e)     An award of punitive or exempla1y damages; and
19          (g)     Such other and fmiher relief that the Comi deems reasonable and just.
20                                            JURY DEMAND
21          Plaintiff requests a trial by jmy of all claims that can be so tried.
22
                                                    Respectfully Submitted,
23
                                                    MICHAEL ELLIOTT JESSUP, individually and
24                                                  on behalf of all others similai·ly situated,
25
     Dated: December 5, 2022                        By: Isl Todd Logan
26                                                      One of Plaintiffs Attorneys

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28                                                  Todd Logan (SBN 305912)
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